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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
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In re:                                 :
                                                      Chapter 11
THE D&M CAPITAL GROUP, LLC                     :
                                                      CASE NO. 19-11711 (SCC)
                  Debtor.                      :
                                                      NOTICE OF CHANGE OF FIRM NAME
                                               :

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TO:    THE CLERK OF THE COURT, ALL PARTIES AND COUNSEL OF RECORD

       PLEASE TAKE NOTICE that, effective July 1, 2020, Troutman Sanders LLP, counsel of

record for The D&M Capital Group LLC, has changed its name to Troutman Pepper Hamilton

Sanders LLP (Troutman Pepper).

       PLEASE TAKE FURTHER NOTICE that the street address, e-mail address(es),

telephone number(s) and facsimile number(s) affiliated with the undersigned counsel will remain

the same.

Dated: New York, New York.                         Respectfully submitted,
       July 17, 2020


                                                   By:/s/ Alissa K. Piccione
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